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UNITED STATES DISTRICT COURT WD\C'

WESTERN DISTRICT OF TENNESSEE 05 _
Western Division AUG ah AH 8' 05

UNITED STATES OF AMERICA

 

-v- Case No. 2:050r20277-3-D
GENO BONDS

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

(1) The defendant shall not commit any offense in violation of federal, state or local law while on release in this
case.

(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel
and the U.S. Attorney in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignment in the United States Courthouse and
Federal Building in Courtroom M-3, 9TH FLOOR on WEDNESDAY, AUGUST 24, 2005 , at 9:30 AM.

ADDITIONAL COND|TIONS OF RELEASE

In order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

Secured Financial Conditions

0 Execute a bond in the amount of $1,000.00 or an agreement to forfeit upon failure to appear as required, and
post with the following amount of money to be deposited into the registry of the Court: W/10% CASH
DEPOSIT WITH THE CLERK OF COURT.

0 report as directed by the Pretrial Services Office.

0 Maintain or actively seek employment

0 Refrain from possessing a firearrn, destructive device, or other dangerous weapon

0 Refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §

802, unless with prior written approval of the Pren'ial Services Officer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

This document entered on the

docket sheet ln compliance
AO199A OrderSetting Conditions of Fte|ease Will'l HUIB 32 Stl':-i`.`roi' 32

(b) FFlCrP on ' "

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0 Submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining whether the defendant is using a prohibited substance Such methods may be used with random
frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any
form of prohibited substance screening or testing.

0 Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services.

0 Other: DEFENDANT IS TO RESIDE SOLELY WITH MOTHER AT 222 WES'I` TRIGG, MEMPHIS, TN.

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could resuit in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing.

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(1) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than $lO0,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. ln addition, a failure to appear may result in the forfeiture of any bond posted.

AO 199A Order Sett|ng Conditions of Re|ease -2-

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ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that lam the defendant in this case and that I am aware of the conditions of release. l promise
to obey ali conditions of release, to appear as directed, and to surrender for service of any sentence imposed I am aware

of the penalties and sanctions set forth above.

Signature of Defendant

GENO BONDS

222 WEST TRIGG
MEMPHIS, TN 38106
90 l -946-25 63

DIRECTIONS TO THE UNITED STATES MARSHAL
lI| The defendant is ORDERED released after processing
g The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Ofticer that the defendant has posted bond and!or complied with all other conditions for release The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Date: Augusi 23, 2005 L_/\..
‘ TU M. PHAM

UNITED STATES MAGISTRATE JUDGE

Ao 1saA order setting conditions or Retease -3-

 

Notice of Distribution

This notice confirms a copy ot` the document docketed as number 20 in
case 2:05-CR-20277 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/leniphis7 TN 38103

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/leniphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

